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             UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

DARLENE HUGHES,

      Plaintiff,

v.                                                 CASE NO. 1:15cv7-MW/GRJ

FAMILY LIFE CARE INC,

      Defendant.

_____________________________/

                                   ORDER

      This matter is before the Court on Defendant’s Emergency Motion to

Stay with Bond Pending Appeal, ECF No. 74, and Plaintiff’s Response, ECF

No. 75. On September 30, 2016, this Court entered a judgment following a

bench trial in favor of Plaintiff against Defendant in the amount of

$16,820.98. ECF No. 67. A judgment for court costs was entered on October 3,

2016 in the amount of $1,900. ECF No. 70. Defendant appealed the judgment,

ECF No. 71, and filed the instant motion to stay enforcement of the final

judgment pending appeal. ECF No. 74.

      In the motion, Defendant proposes to file a cash bond with the Clerk’s

Office in the amount equal to the judgment plus court costs, plus two years of

interest at a 4.78%, for a total amount of $20.511.69. Plaintiff did not object

to the stay, but argues that the proposed bond amount is too low as it does
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not provide for attorney’s fees. ECF No. 75. The Court grants the motion for a

stay, but agrees that the bond amount should be increased to include

attorney’s fees. Because attorney’s fees have not yet been agreed upon in this

case by both parties, 1 the Court will set the bond amount for attorney’s fees

as the average of their two proposed figures 2, which is $70,532.50 (before

interest). This amount reflects a fair approximation of attorney’s fees. This

amount, plus interest at the rate of 4.78%, shall be added to the proposed

bond amount.

        Furthermore, Plaintiff has filed a Motion for Issuance of Post-

Judgment Writ of Garnishment. ECF No. 83. Due to the stay, the motion is

denied. Finally, Plaintiff has filed a Motion for Attorney’s Fees, ECF No. 79,

and Defendant responded, ECF No. 84. Neither party has requested a

hearing on the matter, so the Court shall rule on the papers only. As

Defendant has now filed a response, Plaintiff shall have four days to file a

reply, and if necessary, Defendant shall have four days after Plaintiff files

her reply to file a surreply.

        Accordingly, it is hereby ORDERED:

        1)      The Clerk is directed to reopen the file to the extent necessary to
                handle this motion.

1 The matter of attorney’s fees is still pending before the Court. Plaintiff filed a Motion for Attorney’s
Fees, ECF No. 79, and Defendant responded. ECF No. 84. The exact determination of fees will be
addressed by the Court once the parties have filed replies.
2 Plaintiff’s motion, ECF No. 79, proposes attorney’s fees in the amount of $100,440. Defendant’s

response, ECF No. 84, proposes the amount of $40,625.

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       2)     Defendant’s Motion to Stay with Bond Pending Appeal, ECF No.
              74, is GRANTED but the Court increases the amount of the bond
              to $99,543.26, which represents $25,639.31 for the judgment plus
              interest, plus $73,903.95 for attorney’s fees plus interest.

       3)     Plaintiff’s Motion for Issuance of Post-Judgment Writ of
              Garnishment, ECF No. 83, is DENIED.

       4)     As to the Motion for Attorney’s Fees, ECF No. 79, Plaintiff shall
              file a reply, if any, on or before Monday, November 14, 2016, and
              Defendant file a surreply, if any, on or before Friday, November
              18. This Court will take the matter under advisement on
              Monday, November 21, 2016.


              SO ORDERED on November 10, 2016.


                                s/Mark E. Walker
                                United States District Judge




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